Case 23-14018-MBK           Doc 74
                          Filed 05/17/24 Entered 05/17/24 15:44:24                         Desc Main
                         Document
  UNITED STATES BANKRUPTCY COURT       Page 1 of 2
  DISTRICT OF NEW JERSEY

  Caption in Compliance with D.N.J. LBR 9004-1(b)

  R. Cameron Legg, Esq.
  Oliver & Legg, LLC
  2240 Highway 33, Suite 112
  Neptune, NJ 07753
  732-988-1500
  courtdocs@oliverandlegg.com




  In Re:                                                 Case No.:                 23-14018
                                                                            ______________________

   Rodney J. Kelly                                        Judge:                   MBK
                                                                          ______________________

                                                         Chapter:                    13




                  CHAPTER 13 DEBTOR=S CERTIFICATION IN OPPOSITION


       The debtor in this case opposes the following (choose one):

       1.       ☐ Motion for Relief from the Automatic Stay filed by _____________________________ ,
                creditor,

                A hearing has been scheduled for ____________________________, at __________.


                ☐ Motion to Dismiss filed by the Chapter 13 Trustee.

                A hearing has been scheduled for ____________________________, at ___________.


                ☐ Certification of Default filed by _______________________________,
                                                            Wells Fargo Bank

                I am requesting a hearing be scheduled on this matter.


           2.   I oppose the above matter for the following reasons (choose one):

                ☐ Payments have been made in the amount of $ ___________________, but have not
                been accounted for. Documentation in support is attached.
Case 23-14018-MBK         Doc 74       Filed 05/17/24 Entered 05/17/24 15:44:24                  Desc Main
                                      Document      Page 2 of 2



              ☐ Payments have not been made for the following reasons and debtor proposes
              repayment as follows (explain your answer):
              I had a contract to sell the property that was court approved, but the contract
              unexpectedly fell through at the last minute. The home is still listed and I am
              actively attempting to get another contract that is acceptable to the Creditor.
              Consequently I am requesting an additional 90 days for a new contract.

              ☐ Other (explain your answer):




      3.      This certification is being made in an effort to resolve the issues raised in the certification
              of default or motion.

      4.      I certify under penalty of perjury that the above is true.



Date: _______________________
      5/17/24                                                     /s/ Rodney Kelly
                                                                  ______________________________
                                                                  Debtor=s Signature

Date: _______________________                                     ______________________________
                                                                  Debtor=s Signature




NOTES:

1.    Under D.N.J. LBR 4001-1(b)(1), this form must be filed with the court and served on the Chapter
      13 Trustee and creditor, if applicable not later than 7 days before the date of the hearing if filed in
      opposition to a Motion for Relief from the Automatic Stay or Chapter 13 Trustee=s Motion to
      Dismiss.

2.    Under D.N.J. 4001-1 (b)(2), this form must be filed with the court and served on the Chapter 13
      Trustee and creditor, if applicable not later than 14 days after the filing of a Certification of
      Default.




                                                                                                     rev.8/1/15
